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                                  UNITED STATES BANKRUPTCY COURT
                                    SOUTHERN DISTRICT OF TEXAS
                                          HOUSTON DIVISION

In re:                                                           Case No. 17-33931-H2-13
         ARICK RYAN RUSSELL

                      Debtor(s)



              CHAPTER 13 STANDING TRUSTEE’S FINAL REPORT AND ACCOUNT

        William E. Heitkamp, chapter 13 trustee, submits the following Final Report and
Account of the administration of the estate pursuant to 11 U.S.C. § 1302(b)(1). The trustee
declares as follows:

         1) The case was filed on 06/28/2017.

         2) The plan was confirmed on 09/29/2017.

         3) The plan was modified by order after confirmation pursuant to 11 U.S.C. § 1329 on
NA .

        4) The trustee filed action to remedy default by the debtor in performance under the plan
on 12/01/2017.

         5) The case was dismissed on 03/20/2018.

         6) Number of months from filing to last payment: 4.

         7) Number of months case was pending: 12.

         8) Total value of assets abandoned by court order: NA .

         9) Total value of assets exempted: $10,687.58.

         10) Amount of unsecured claims discharged without payment: $0.00.

         11) All checks distributed by the trustee relating to this case have cleared the bank.




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Receipts:

           Total paid by or on behalf of the debtor                       $8,543.10
           Less amount refunded to debtor                                     $0.00

NET RECEIPTS:                                                                                                  $8,543.10



Expenses of Administration:

     Attorney’s Fees Paid Through the Plan                                         $1,485.01
     Court Costs                                                                       $0.00
     Trustee Expenses & Compensation                                                 $452.78
     Other                                                                             $0.00
TOTAL EXPENSES OF ADMINISTRATION:                                                                              $1,937.79

Attorney fees paid and disclosed by debtor:                             $32.00



Scheduled Creditors:
Creditor                                                Claim         Claim           Claim        Principal        Int.
Name                                          Class   Scheduled      Asserted        Allowed         Paid           Paid
Attorney General of Texas                 Priority       17,388.11     17,388.11       17,388.11           0.00            0.00
Capital One                               Unsecured       2,731.00           NA              NA            0.00            0.00
Capital One                               Unsecured       1,654.00           NA              NA            0.00            0.00
Conn Appliances, Inc.                     Secured         3,712.70      3,712.70        3,712.70           0.00            0.00
COUNTRY LAKE ESTATES                      Secured         1,029.16      1,029.16        1,029.16           0.00            0.00
Directv, LLC                              Unsecured            NA         241.60          241.60           0.00            0.00
DON L BEARD                               Unsecured       2,300.00           NA              NA            0.00            0.00
INTERNAL REVENUE SERVICE***               Unsecured      10,000.00      9,396.44        9,396.44           0.00            0.00
JUSTICE FINANCE COMPAN                    Unsecured         900.00           NA              NA            0.00            0.00
LOANCARE                                  Secured             0.00          0.00            0.00       6,605.31            0.00
LOANCARE                                  Secured        24,000.00     22,254.88       22,254.88           0.00            0.00
LVNV Funding, LLC its successors and as   Unsecured            NA       5,557.11        5,557.11           0.00            0.00
National Credit System                    Unsecured         626.00           NA              NA            0.00            0.00
PORTFOLIO RECOVERY ASSOCIATES             Unsecured       1,575.00      1,575.01        1,575.01           0.00            0.00
Southwest Credit Systems                  Unsecured       2,906.00           NA              NA            0.00            0.00




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 Summary of Disbursements to Creditors:
                                                                      Claim             Principal             Interest
                                                                    Allowed                 Paid                 Paid
 Secured Payments:
        Mortgage Ongoing                                              $0.00            $6,605.31                $0.00
        Mortgage Arrearage                                       $22,254.88                $0.00                $0.00
        Debt Secured by Vehicle                                       $0.00                $0.00                $0.00
        All Other Secured                                         $4,741.86                $0.00                $0.00
 TOTAL SECURED:                                                  $26,996.74            $6,605.31                $0.00

 Priority Unsecured Payments:
         Domestic Support Arrearage                                   $0.00                $0.00                $0.00
         Domestic Support Ongoing                                     $0.00                $0.00                $0.00
         All Other Priority                                      $17,388.11                $0.00                $0.00
 TOTAL PRIORITY:                                                 $17,388.11                $0.00                $0.00

 GENERAL UNSECURED PAYMENTS:                                     $16,770.16                $0.00                $0.00



 Disbursements:

          Expenses of Administration                                    $1,937.79
          Disbursements to Creditors                                    $6,605.31

 TOTAL DISBURSEMENTS :                                                                                    $8,543.10



         12) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009,
the estate has been fully administered, the foregoing summary is true and complete, and all
administrative matters for which the trustee is responsible have been completed. The trustee
requests a final decree be entered that discharges the trustee and grants such other relief as may
be just and proper.

Dated: 06/18/2018                                  By: /s/ William E. Heitkamp
                                                                             Trustee


STATEMENT: This Unified Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




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